
519 So. 2d 1292 (1987)
Ex parte David SELLERS.
(Re: David Leon Sellers, alias v. State).
86-1274.
Supreme Court of Alabama.
December 18, 1987.
Rehearing Denied February 12, 1988.
Joel L. Sogol, of Sogol &amp; Chandler, Tuscaloosa, for petitioner.
Don Siegelman, Atty. Gen., and Helen P. Nelson, Asst. Atty. Gen., for respondent.
BEATTY, Justice.
On the authority of Borden v. State, [Ms. 7 Div. 691, October 13, 1987] (Ala. Crim.App.1987), and Mulhern v. State, 494 So. 2d 787 (Ala.Crim.App.1986), the petitioner's conviction for trafficking in marijuana is reversed due to the insufficiency of the evidence, and judgment is hereby rendered for petitioner on that charge.
REVERSED AND JUDGMENT RENDERED.
TORBERT, C.J., and MADDOX, JONES, ALMON, SHORES, ADAMS and HOUSTON, JJ., concur.
